Case 2:13-cr-06070-SAB             ECF No. 14        filed 12/09/13       PageID.27       Page 1 of 1


      United States District Court, Eastern District of Washington
                             Magistrate Judge John T. Rodgers
                                          Yakima

USA v. KENNY ROWELL                                            Case No.       MJ-13-4363-JPH-1

        Yakima Video Conference (JTR @ Spokane; Counsel and Defendant @ Yakima)

Bail Hearing:                                                                           12/09/2013

☒ Karen White, Courtroom Deputy [Y]                  ☒ Alex Ekstrom, US Atty
☒ Linda Stejskal, Courtroom Deputy [S]               ☒ Rebecca Pennell, Defense Atty
☒ Carrie Valencia, US Probation / Pretrial             Interpreter - NOT REQUIRED
  Services Officer
☒ Defendant present ☒ in custody USM                 ☐ Defendant not present / failed to appear
                     ☐out of custody

☒ Defendant continued detained                       ☐ Conditions of Release imposed
                                                     ☐ 199C Advice of Penalties/Sanctions

                                             REMARKS
        USA proffered the pretrial services bail report and concurred with its recommendation of
continued detention.
        Defense counsel argued that Defendant should be released.


The Court ordered:
            1. USA’s Motion for Detention is granted.
            2. There is no combination of conditions to assure Defendant’s appearance as required and
               the safety of the community.
            3. Defendant shall be detained by the U. S. Marshal until further order of the Court.




                           FTR/Y‐102              Time: 2:19 – 2:25 p.m.                           Page 1
